
ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Arthur L. Carter, and the Office of Disciplinary Counsel,
IT IS ORDERED that Arthur L. Carter be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings proceed in accordance with Supreme Court-Rule XIX, § 11.
/s/ Pascal F. Calogero, Jr.
JUSTICE, SUPREME COURT OF LOUISISANA
